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                    UNITED STATES DISTRICT COURT
                    SOUTHERN DISTRICT OF GEORGIA
                         SAVANNAH DIVISION


 UNITED STATES OF AMERICA                        CR416-348


         V.



 JOHN HAY


                    CONSENT ORDER OF FORFEITURE


      WHEREAS,on December 7, 2016, a federal grand jury sitting in the Southern

District of Georgia returned a twelve-count Superseding Indictment against

Defendant John Hay and two others charging violations of 21 U.S.C. § 846 (Count

One-Conspiracy),21 U.S.C.§ 841(a)(1)(Counts Two,Seven and Eight-Distribution

ofHeroin), 21 U.S.C.§ 841(a)(1)(Coimt Three — Distribution ofOjgrcodone),21 U.S.C.

§ 841(a)(1)(Count Four- Distribution of Cocaine), 21 U.S.C. § 841(a)(1)(Count Five

- Distribution of Marijuana), 18 U.S.C. § 924(c)(Counts Six and Twelve -Possession

of a Firearm in Furtherance of Drug Trafficking), 21 U.S.C. § 841(a)(1)(Count Nine

- Possession of Heroin, Cocaine, Ojcycodone, Oxycontin, MDMA, Alprazolam and

Marijuana with Intent to Distribute), 21 U.S.C. § 841(a)(1)(Count Ten - Possession

ofHeroin,MDMA,Methamphetamine and Alprazolam with Intent to Distribute),and

18 U.S.C. § 922(g)(1)(Count Eleven — Possession of a Firearm by a Convicted Felon);

      WHEREAS, the Superseding Indictment sought forfeiture pursuant to 21

U.S.C. § 853 of any proceeds obtained, directly or indirectly, as a result of such

offenses charged in Counts One through Five and Counts Seven through Ten of the
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